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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                              OCALA DIVISION

  FOUNDATION RESOLUTION CORP.,
  f/k/a Citrus Memorial Health
  Foundation Inc., and FOUNDATION
  RESOLUTION CORP. PENSION
  COMMITTEE, as an administrator of the
  Citrus Memorial Health Foundation, Inc.
  Pension Plan,

               Plaintiffs,
                                                  Case No. 5:18-cv-00458-JSM-PRL
        v.

  AON HEWITT INVESTMENT
  CONSULTING, INC., f/k/a Hewitt
  EnnisKnupp, Inc.; and ALIGHT
  SOLUTIONS LLC, f/k/a Hewitt
  Associates LLC,

               Defendants.



 DEFENDANT ALIGHT SOLUTIONS, LLC’S MOTION FOR JUDGMENT ON
  PARTIAL FINDINGS AND INCORPORATED MEMORANDUM OF LAW

       Defendant, Alight Solutions, LLC (“Alight”), respectfully moves the Court

 for judgment in its favor pursuant to Fed. R. Civ. P. 52(c). Plaintiffs have completed

 presentation of their evidence and have been fully heard on their claims. They

 have failed to demonstrate any liability on Alight’s part. Accordingly, Alight is

 entitled to judgment on partial findings as a matter of law.
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                            MEMORANDUM OF LAW

 I.    Introduction

       The name “Alight” has been conspicuously absent throughout this trial.

 There has been no evidence as to liability or damages concerning as to Alight.

 Finally, the evidence has not established the requisite standing by Plaintiffs.

 II.   Legal Standard

       Rule 52(c) provides, in relevant part:

       Judgment on Partial Findings. If a party has been fully heard on an
       issue during a nonjury trial and the court finds against the party on
       that issue, the court may enter judgment against the party on a claim
       or defense that, under the controlling law, can be maintained or
       defeated only with a favorable finding on that issue. The court may,
       however, decline to render any judgment until the close of the
       evidence. A judgment on partial findings must be supported by
       findings of fact and conclusions of law as required by Rule 52(a).

       In ruling on a Rule 52(c) motion, “ the court does not view the evidence in

 the light most favorable to the nonmoving party, as it would in ... a Rule 50(a)

 motion for judgment as a matter of law; instead, it exercises its role as factfinder.”

 See Pinero v. 4800 W. Flagler L.L.C., 430 F. App'x 866, 868 (11th Cir. 2011) (citing

 United States v. $242,484.00, 389 F.3d 1149, 1172 (11th Cir. 2004) (en banc). The Rule

 50(a) rubric requires the court to draw all inferences in the nonmoving party's

 favor, but Rule 52(c) has no such requirement. See id. Under Rule 52(c), “the court

 must weigh the evidence and may consider the witnesses' credibility.” See United




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 States v. $242,484.00, 389 F.3d 1149, 1172 (11th Cir. 2004) (quoting Chris Berg, Inc. v.

 Acme Mining Co., 893 F.2d 1235, 1238 n. 2 (11th Cir. 1990)).

    A.           Plaintiffs Have Failed to Establish Their Prima Facie Case.

            I.      Plaintiffs Have No Evidence Establishing Alight’s Liability.

         Plaintiffs’ witnesses have barely acknowledged Alight, much less credibly

 testified to any liability on its part. There has been no testimony or evidence that

 even approaches demonstrating liability or satisfying the elements of the claims

 against Alight.

           II.      Plaintiffs Have No Evidence of Causation or Damages.

         While Plaintiffs allege they were harmed and arbitrarily claim they are

 entitled to $12 million damage as a result of investment losses, this has nothing to

 do with Alight. The evidence does not demonstrate any damages connected to

 Alight.

         III.       Plaintiffs have Not Demonstrated Standing.

         The evidence is now undisputed that Plaintiffs lack any stake in the outcome

 of the lawsuit. As a result, they lack standing to continue pursuing their claims.

         For the foregoing reasons, Alight respectfully requests that this Court enter

 judgment as a matter of law in its favor and dismiss all claims against it.




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  Date: April 16, 2021                      Respectfully submitted,

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                             CERTIFICATE OF SERVICE
       I hereby certify that on April 16, 2021, I caused to be electronically filed the

 foregoing using the Court’s CM/ECF system, which will send a notice of electronic

 filing to all counsel of record:

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